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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL


Case No.: 2:19-cv-10374-SB-E                                         Date:   May 20, 2022


Title:    Thimes Solutions Inc. v. TP Link USA Corporation et al.


Present: The Honorable          STANLEY BLUMENFELD, JR., U.S. District Judge
                  Jennifer Graciano                                        N/A
                    Deputy Clerk                                      Court Reporter

    Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                  None Appearing                                     None Appearing

Proceedings:          [In Chambers] CASE MANAGEMENT ORDER

  This case was remanded to this Court from the Ninth Circuit on May 9, 2022; the
  Court held a status conference on May 20, 2022 and issues this case management
  order. The DOE defendants remaining after July 18, 2022 are dismissed by
  operation of this Order and without further notice. Defendants shall file any
  objection to private mediation by no later than May 23, 2022.

  The Court has reviewed the Joint Rule 26(f) Report and sets the pretrial and trial
  dates noted in the table below based on an evaluation of the complexity of the case.
  A more complete description of these deadlines is contained in the Mandatory
  Scheduling Conference Order (MSC Order). The deadlines below will not be
  continued absent a timely showing of good cause. Good cause requires a specific,
  detailed, and non-conclusory showing of diligence from the outset of the case,
  describing: (i) all relevant work previously done (including when each item was
  completed), (ii) all relevant work that remains to be done, (iii) why the remaining
  work could not previously have been done (including efforts made to complete
  each remaining item), and (iv) why the amount of time requested is needed to
  complete the remaining work. The Attachment to this Order describes the


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requirements in more detail, and failure to comply with them will result in denial
of the request with prejudice.

  Trial      ☐ Court ☒ Jury        (Mon., 8:30 a.m.)          January 9, 2023
  Pretrial Conference           (Fri., 10:00 a.m.)
  (including hearing on motions in limine)                  December 30, 2022

  Motion to Amend Pleadings/Add Parties                         July 18, 2022
  (Hearing Deadline)
  Discovery Deadline – Nonexpert                            September 30, 2022

  Discovery Deadline – Expert                               September 30, 2022
   Initial Expert Disclosure                                   August 1, 2022
   Rebuttal Expert Disclosure                                  August 8, 2022
  Discovery Motion Hearing Deadline                           October 7, 2022

  Non-Discovery Motion Hearing Deadline                       October 7, 2022

  Early Mediation Deadline                                     June 21, 2022
  Settlement Conference Deadline
                                                              October 21, 2022
  ☐ 1. Mag. J. ☐ 2. Panel ☒ 3. Private
  Post-Settlement Status Conf. (Fri., 8:30 a.m.):            November 4, 2022
  Status Report Due (7 court days before by 9:00 a.m.):      October 28, 2022
  Trial Filings (First Set) Deadline                         December 9, 2022

  Trial Filings (Second Set) Deadline                       December 16, 2022

All motion deadlines reflect the last day when a motion may be heard, and a
hearing must be set on an open hearing date. Consult the Court’s website before
scheduling a hearing to determine availability. A party that waits until the last day
to have a motion heard on a date that turns out to be unavailable risks having the
motion stricken and not heard.

The parties should plan to complete discovery far enough in advance of the
discovery deadline to allow for the filing of a discovery motion if necessary and
complete the discovery allowed if relief is granted. Delaying discovery (e.g., a
deposition) until receiving other discovery (e.g., written discovery)—or deciding
not to conduct a deposition remotely—generally does not constitute good cause to

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continue the discovery or other deadlines. The parties should take this risk into
account when deciding whether to engage in strategic ordering of discovery or to
conduct in-person depositions.
cc: ADR




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                                           ATTACHMENT


The parties should prepare this case without expecting an extension of any pretrial
or trial deadline, even if the extension request is by stipulation. The Court applies
the same standard of good cause for all requests (whether opposed or unopposed).

A continuance will be granted only for good cause as defined in the Order above.
The showing shall be placed in a table in chronological order and shall include all
discovery and significant procedural events from the outset of the case in the
format illustrated below.

                                         Completed Work
     Date        Pty               Event                                  Explanation
    __/__/__     Π               Complaint
    __/__/__     Δ                 Answer
    __/__/__     Π           Initial Disclosures
    __/__/__     Δ           Initial Disclosures
    __/__/__     Π     Interrog., RFPs, RFAs (Set #1) 1
    __/__/__     Δ     Interrog., RFPs, RFAs (Set #1)
    __/__/__     Π              Smith Depo
                                         Remaining Work 2
                                                          Detail: (1) why it was not already done; (2)
    __/__/__     Π               Jones Depo               prior efforts to complete it; and (3) why the
                                                          amount of time requested is necessary.

The requesting party/parties also must submit a proposed order in Word format
using the exact “CMO Continuance Order template” provided on the Court’s
website.

          Failure to comply with the above requirements will result in
          the denial of the request with prejudice.


1
 Each discovery item (e.g., RFAs) must be separately listed unless they all occurred on the same
date.
2
  Each remaining discovery item must be listed separately with a proposed date for completion in
the first column, the party taking the discovery in the second column, a description of the
discovery in the third column, and an explanation in the fourth column of (1) why the discovery
was not already done, (2) the prior efforts to complete it, and (3) why the amount of time
requested is necessary.

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